 

Case 1:04-0V-(llOZ7-CBK Document 20 Filed 04/05/06 Page 1 of 1 Page|D #: 52
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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

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Case No. 04-1027

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JAMES F. MUNDT aka
JMESMWWL
Plaintiff,
_VS_
ORDER FOR DISMISSAL
GUARANTY NATIONAL INSURANCE
COMPANY, a corporation,

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Defendant.

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The Court having read and examined the Stipulation for
Dismissal and being fully advised in the premises, it is hereby

ORDERED that the above-entitled action and all causes
of action contained or referred to in the pleadings be, and they
hereby are, dismissed upon their merits, with prejudice, without
further notice and without taxation of costs to any party hereto.

Dated this § 353 day of April, 2006.

BY THE COURT:

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’ . . District Court Judge
ATTEST:

CHARLES L. NAIL, JR., CLERK

 

